
474 Pa. 146 (1977)
377 A.2d 156
Commonwealth of Pennsylvania, PENNSYLVANIA HUMAN RELATIONS COMMISSION, Petitioner,
v.
The SCHOOL DISTRICT OF the TOWNSHIP OF MILLCREEK
Supreme Court of Pennsylvania.
August 22, 1977.
*147 Katherine H. Fein, Asst. Gen. Counsel, Pennsylvania Human Relations Commission, Pittsburgh, for petitioner.
John W. Beatty, Knox, Graham, McLaughlin, Gornall &amp; Sennett, Inc., Erie, for respondent.
Before EAGEN, C.J., and O'BRIEN, ROBERTS, POMEROY, NIX, MANDERINO and PACKEL, JJ.

OPINION OF THE COURT
PER CURIAM:
The petition of the Pennsylvania Human Relations Commission for leave to appeal is hereby granted.
Applying the standard of review of orders of administrative agencies prescribed by § 44 of the Administrative Agency Law, Act of June 4, 1945, P.L. 1388, 71 P.S. § 1710.44, we conclude that the order of the Pennsylvania Human Relations Commission in this case dated March 28, 1976 is supported by substantial evidence and is in accordance with section 5(a) of the Pennsylvania Human Relations Act, Act of October 27, 1955, P.L. 744, as amended, 43 P.S. § 955(a). See Pa. Human Relations Commission v. Alto-Reste Park Cemetery Assoc., 453 Pa. 124, 135-136, 306 A.2d 881, 888 (1973). Because the order of the Commonwealth Court from which appeal is sought is not in accord with this determination, the order must be vacated and the case remanded to the Commonwealth Court for proceedings consistent herewith.
It is so ordered.
